
Kelly Georgene Routten, For Routten, Kelly Georgene
Jill S. Jackson, Attorney at Law, For Routten, John Tyler
R. Daniel Gibson, Attorney at Law, For Routten, Kelly Georgene
AMENDED ORDER
Upon consideration of the notice of appeal from the North Carolina Court of Appeals, filed by Defendant on the 27th of December 2018 in this matter pursuant to G.S. 7A-30 (substantial constitutional question), the following order was entered and is hereby certified to the North Carolina Court of Appeals: the notice of appeal is
"Dismissed Ex Mero Motu by order of the Court in conference, this the 14th of August 2019."
Upon consideration of the petition filed on the 27th of December 2018 by Defendant in this matter for discretionary review of the decision of the North Carolina Court of Appeals pursuant to G.S. 7A-31, the following order was entered and is hereby certified to the North Carolina Court of Appeals:
"Denied by order of the Court in conference, this the 14th of August 2019."
